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                    UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

 TENIA GOSHAY, PERSONAL REPRESENTATIVE
 OF THE ESTATE OF CORNELIUS FREDERICK,
 DECEASED,

            Plaintiff,                          Case No. 1:21:-cv-00848
 v.                                             Hon. Robert J. Jonker

 LAKESIDE FOR CHILDREN d/b/a LAKESIDE
 ACADEMY; LAKESIDE ACADEMY; SEQUEL
 YOUTH SERVICES OF MICHIGAN, LLC;
 SEQUEL TSI HOLDINGS, LLC; SEQUEL YOUTH
 AND FAMILY SERVICES, LLC; SEQUEL ACADEMY
 HOLDINGS, LLC; SEQUEL YOUTH SERVICES, LLC;
 COLE HODGE (DEFENDANT #1); ZACHARY SOLIAS
 (DEFENDANT #2); MICHAEL MOSLEY (DEFENDANT #3);
 ORLANDO LITTLE, JR. (DEFENDANT #4); COADY RIES
 (DEFENDANT #5); MAURICE DAVIS (DEFENDANT #6);
 JA’SHON CHEEKS (DEFENDANT #7); BRANDON REYNOLDS
 (DEFENDANT #8); HEATHER MCLOGAN (DEFENDANT #9);
 and BRADLEY HODGE (DEFENDANT #10)

            Defendants.

 GEOFFREY N. FIEGER (P30441)         TODD A. MCCONAGHY (P55675)
 FIEGER, FIEGER, KENNEY &            LEE C. PATTON (P26025)
 HARRINGTON P.C.                     RONALD S. LEDERMAN (P38199)
 Attorney for Plaintiff              SULLIVAN, WARD, PATTON, GLEESON &
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                         AFFIRMATIVE DEFENSES

       NOW COME Defendants, COLE HODGE, ORLANDO LITTLE, JR.,

 COADY RIES, MAURICE DAVIS, JA’SHON CHEEKS, BRANDON

 REYNOLDS, and BRADLEY HODGE, by and through their Attorneys,

 SULLIVAN, WARD, PATTON, GLEESON & FELTY, PC, and affirmatively state that


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 upon the trial of this cause and proof by the Plaintiff of the facts set forth in

 the Complaint, then Defendants will show:

       1.    That the Court lacks jurisdiction over the Defendants or the

 property at issue.

       2.    That the Plaintiff’s Complaint fails to state a cause of action

 upon which relief can be granted.

       3.    That this action is barred for the reason that this Court lacks

 jurisdiction over these Defendants in that Plaintiff has failed to properly

 serve said Defendants in accordance with the Statutes and Court Rules in

 effect at the time.

       4.    That the applicable Statute of Limitations for bringing such

 actions has elapsed as further discovery will establish, prior to the filing of

 this lawsuit, and, therefore, Plaintiff’s action is barred by the running of the

 period of limitations applicable thereto.

       5.    The incident described in the Complaint was caused either

 totally or partially by the Plaintiff’s and/or Plaintiff’s Decedent’s own

 negligence and/or fault as discovery will establish, and therefore, any

 recovery by the Plaintiff must be reduced in total or in part.

       6.    That the incident described in the Complaint and any alleged

 damages sustained by Plaintiff were caused either totally or partially by the

 negligence, comparative negligence, and contributory negligence and/or

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 willful acts of the Plaintiff and/or Plaintiff’s Decedent, as further discovery

 will establish, and that any recovery by the Plaintiff must be reduced in total

 or in part.

       7.      That the incident described in the Complaint and any alleged

 damages sustained by the Plaintiff were proximately caused either totally or

 partially by the negligence and/or willful acts of Plaintiff’s Decedent, as

 further discovery will establish, and that any recovery by the Plaintiff must

 be reduced in total or in part.

       8.      Defendants state that they were guided by and strictly observed

 all of their legal duties and obligations imposed by operation of law and

 otherwise and that all of the actions of their agents or employees were

 careful, prudent, and lawful.

       9.      That any services rendered by these Defendants, met or

 exceeded the standard of care required of the reasonably prudent

 employee of a children’s academy as the same existed under similar

 circumstances in this or similar communities.

       10.     That at the time of trial, Defendants will show that any injuries

 and/or damages incurred by the Plaintiff and/or Plaintiff’s Decedent were

 due to the negligence and/or breach of duty and/or acts or omissions of

 parties other than these Defendants, as further discovery will establish to

 such a degree as shall be comparatively determined by the trier of fact.

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       11.      That Plaintiff’s claim for punitive damages is not cognizable and

 must be stricken.

       12.      That Plaintiff’s claim for strict liability is not cognizable and must

 be stricken.

       13.      That the claim of Plaintiff for breach of express or implied

 warranties is hereby barred for the reason that Plaintiff and/or Plaintiff’s

 Decedent failed to rely in any way upon any alleged warranties.

       14.      That the claims contained herein for breach of expressed or

 implied contract, or warranty of care, or of specific results, are hereby

 barred and rendered unenforceable.

       15.      Plaintiff has failed to state a claim upon which relief may be

 granted by reason of the fact that the party asserting the claim lacks the

 legal capacity to sue.

       16.      That this Court lacks subject matter and/or general jurisdiction

 and Plaintiff’s claims in this forum are statutorily barred.

       17.      That Defendants herein will rely upon their rights, obligations

 and defenses as set forth in the contract(s) between and amongst the

 parties.

       18.      That the Plaintiff’s claims are statutorily barred.

       19.      That the Defendants herein hereby reserve the right to amend,

 modify, alter or add to the foregoing Answer at the conclusion of discovery

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 and further, to move for Summary Disposition or to add Affirmative

 Defenses, said reservations being made for the reason that the Plaintiff’s

 Complaint presently fails to state a cause of action in that it lacks the

 necessary specificity and is otherwise inadequate and insufficient.

       20.    That Plaintiff’s claims are barred for the reason that Plaintiff has

 previously received payment for the damages sought.

       21.    That Plaintiff’s claims are barred for the reason that Plaintiff

 signed a Release which released the Defendants from liability for any and

 all damages sought by Plaintiff.

       22.    That Plaintiff’s claims are barred for the reason that the

 damages sought by Plaintiff were satisfied pursuant to judgment or

 otherwise.

       23.    That Plaintiff’s claims are barred for the reason that the

 Plaintiff’s actions constituted fraud.

       24.    That the Plaintiff is estopped from asserting the said claim(s)

 against these Defendants.       That the Plaintiff claim(s) (is/are) barred by

 want or failure to consideration.

       25.    That the Plaintiff’s claims are barred by want or failure of

 consideration.

       26.    That the Defendants herein hereby reserve the right to file a

 cross-claim against other party Defendant(s) as discovery so warrants.

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       27.    That any and all of the injuries and damages Plaintiff allegedly

 sustained were not proximately caused by any acts of the Defendants, their

 agents, servants, and/or employees, but rather were proximately caused in

 part or total by the Plaintiff’s and/or Plaintiff’s Decedent’s own subsequent

 intervening negligence.

       28.    That the Defendants, their agents, servants and/or employees

 were under no legal duty to foresee and/or prevent criminal activity.

       29.    That any and all of the injuries and damages Plaintiff and/or

 Plaintiff’s Decedent allegedly sustained were not proximately caused by

 any acts of the Defendants, their agents, servants and/or employees, but

 rather were caused in total or in part as a result of the intervening

 negligence of parties other than these Defendants.

       30.    That any award made to Plaintiff must be reduced in part or

 total for Plaintiff’s and/or Plaintiff’s Decedent’s failure to mitigate damages,

 and furthermore, said award, if any, must be reduced in total or in part as a

 result of the Plaintiff’s and/or Plaintiff’s Decedent’s own negligence in or

 negligent mitigation of damages.

       31.    That the Plaintiff has failed to properly join all claims she has

 against these Defendants in this action at the time of serving of the

 pleadings.




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       32.   That at an appropriate time as discovery continues, the

 Defendants will file a Motion for Summary Judgment based upon Rule 12

 and/or 56 of the Federal Rules of Civil Procedure, and the grounds

 contained therein.

       33.   Pursuant to the 1986 Tort Reform Act, Plaintiff is barred from

 seeking any recovery for any hospitalization, medical care, loss of

 earnings, loss of earning capacity or other economic loss to the extent that

 Plaintiff has already received benefits from any insurance policy, any health

 care provider, health maintenance organization, employee benefits, Social

 Security benefits, workers' compensation benefits or Medicare/Medicaid

 benefits. These Defendants hereby give notice that a Motion for Summary

 Disposition will be brought on with respect to these claims.

       34.   That the limitations period for bringing this action has expired.

       35.   Defendants hereby give notice that should Plaintiff resolve this

 claim as to any Codefendant, without admission of any claim or waiver of

 any defense, Defendants assert that such Codefendant is a potential

 non-named responsible party whose act, omission or breach of duty is a

 cause, contributing cause or sole cause of damages claimed by Plaintiff.

 The addresses of Codefendants are known to Plaintiff. Please refer to

 Plaintiff’s Complaint for the factual basis of the alleged claim.




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       36.   That the Defendant claims the defense of sudden emergency.

       37.   Any allegations of gross negligence should be stricken and fail

 to state a claim upon which relief can be granted.

       38.   That the limitations period for bringing this action has expired.

       39.   That Defendants reserve the right to file a Notice of Nonparty

 Fault as discovery may warrant.

       40.   That Plaintiff’s claim for non-economic damages is barred for

 the   reason   Plaintiff’s   and/or   Plaintiff’s   Decedent’s   percentage     or

 comparative fault is greater than the aggregate fault of Defendants and any

 potential non-party fault.

       41.   That Plaintiff’s claim for non-economic damages shall be

 reduced by the percentage of comparative fault by Plaintiff’s and/or

 Plaintiff’s Decedent’s.

       42.   That Defendants will rely on all of the applicable provisions of

 the Tort Reform Act.

       43.   That Plaintiff is barred from the recovery of all or part of the

 economic loss claim pursuant to the statutory collateral source provisions.

       44.   That Plaintiff lacks the legal capacity to sue.

       45.   Defendants specifically deny any and allegations of negligence

 regarding the events and occurrences involved in the instant matter.




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         46.     That Defendants reserve the right to add further Affirmative

 Defenses as may be necessary throughout discovery of this case.

                                       Respectfully submitted,

                                       SULLIVAN, WARD, PATTON,
                                        GLEESON & FELTY, P.C.

                                 By: /s/ Todd A. McConaghy
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                                     LEE C. PATTON (P26025)
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 Dated: December 2, 2021             rlederman@sullivanwardlaw.com
 W2538584.DOCX




                            CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing instrument was
 electronically filed with the Clerk of the Court using the ECF system which
 will serve a copy of same upon all parties to the above cause to each of the
 attorneys of record herein at their respective addresses disclosed on the
 pleadings on December 2, 2021, by:

             U.S. Mail             Hand Delivered                Other: Email
             Fax                   Overnight Courier
             Fed. Express          Other: Efile

                  Signature: /s/ Denise Roulo
                           Sullivan, Ward, Patton, Gleeson & Felty, P.C.



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